                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

MAURICE FAYNE,                          :   MOTION TO VACATE
Fed. Reg. No. 73197-019,                :   28 U.S.C. §2255
      Movant,                           :
                                        :   CRIMINAL NO.
              v.                        :   1:20-CR-228-MHC-JKL-1
                                        :
UNITED STATES OF AMERICA,               :   CIVIL ACTION NO.
    Respondent.                         :   1:23-CV-4917-MHC-JKL

                   FINAL REPORT AND RECOMMENDATION

      Movant executed a motion to vacate his convictions and sentences pursuant

to 28 U.S.C. §2255 on October 20, 2023, and indicated that a “Memorandum of Law

in Support will be forthcoming.” (Doc. 326). On November 1, 2023, I entered an

Order instructing Movant to file that supporting memorandum within twenty days.

(Doc. 328).

      Because Movant had not filed a supporting memorandum in compliance with

my instructions, on February 1, 2024, I entered an Order instructing Movant to show

cause within fourteen days why this case should not be dismissed for his failure to

obey an order of the Court. (Doc. 332). In that same Order I noted that the lack of

a memorandum in support of the motion to vacate makes it impractical for the

Government to respond thereto. (Id.).

      After Movant had neither responded to the show cause order nor filed a

memorandum of law, on February 26, 2024, I entered a final report and
recommendation (“R&R”) which recommend dismissal under LR 41.3A, NDGa. for

Movant’s failure to obey a lawful order of the court. (Doc. 333).

      Three days after the R&R was docketed the Clerk received Movant’s response

to the show cause order. (Doc. 335). Therein, Movant stated that he currently was

in holdover status at the United States Penitentiary in Atlanta, Georgia (“USP-

Atlanta”), he had no access to his property including the legal memorandum he

previously prepared, and he did not know when he would receive that property. (Id.).

      As a result of Movant’s response, I entered an Order on March 12, 2024,

vacated the February 26, 2024, R&R, and provided Movant with one more

opportunity – thirty days – to file a supporting memorandum. (Doc. 336). In that

Order, I noted that even without his property movant could provide more factual

details to support his claims and that he already had been provided with several

months to do so, and I warned Movant that the Court may not be inclined to grant

any further requests for an extension. (Id.). The March 12, 2024, Order was not

returned to the Court, and as of May 2, 2024, Movant has not submitted a

memorandum of law in support of the §2255 motion.

      IT IS RECOMMENDED that this action be DISMISSED WITHOUT

PREJUDICE for Plaintiff’s failure to obey a lawful Order of the Court. See LR

41.3A, NDGa.
      The Clerk is DIRECTED to terminate the District Judge’s reference to the

undersigned Magistrate Judge.

      IT IS SO ORDERED this 3rd day of May, 2024.



                                         ___________________________________
                                         JOHN K. LARKINS III
                                         UNITED STATES MAGISTRATE JUDGE
